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  15                         UNITED STATES DISTRICT COURT
  16           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  17

  18   MARCIANO TOPETE,                            Case No: 8:17-cv-01721 AG (JDEx)
                                                   [Originally filed in Orange County Superior
  19                       Plaintiff,              Court, Case No.: 30-2017-00930423-CU-OE-
                                                   CJC]
  20          v.
       RED ROBIN INTERNATIONAL,                    JOINT STIPULATION FOR
  21                                               DISMISSAL WITH PREJUDICE
       INC., a Nevada Corporation, doing           PURSUANT TO FED. R. CIV. P.
  22   business as RED ROBIN BURGER                41(a)(1)(A)
       AND SPIRITS EMPORIUMS, and
  23   DOES 1 through 20, inclusive ,
                           Defendants.             Hon. Andrew J. Guilford, Dept. 10D
  24

  25                                               Complaint Filed:     July 7, 2017
                                                   FAC Filed:           July 27, 2017
  26                                               Trial Date:          October 9, 2018
  27

  28


        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)
       FPDOCS 34660128.1
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   1             IT IS HEREBY STIPULATED by Plaintiff MARCIANO TOPETE
   2   (“Plaintiff”)       and   Defendant     RED      ROBIN      INTERNATIONAL,            INC.
   3   (“Defendant”), by and through their respective counsel of record, that the above-
   4   captioned action is hereby dismissed with prejudice pursuant to Federal Rule of
   5   Civil Procedure 41(a)(1)(A)(ii). Pursuant to Federal Rule of Civil Procedure
   6   41(a)(1), this dismissal is effective “without a court order” and the Court shall enter
   7   the dismissal of Plaintiff’s claims with prejudice.
   8             IT IS SO STIPULATED.
   9
        Dated: October 31, 2018                         ROUSSO & JACKEL
  10

  11                                              By: __/s/ Jonathan Jackel_____
                                                      JONATHAN JACKEL
  12                                                  NORA ROUSSO
                                                      Attorneys for Plaintiff
  13                                                  MARCIANO TOPETE
  14

  15    Dated: October 31, 2018                         FISHER & PHILLIPS LLP
  16
                                                  By:     /s/ Sean F. Daley
  17                                                    LONNIE D. GIAMELA
                                                        SEAN F. DALEY
  18                                                    Attorneys for Defendant
                                                        RED ROBIN INTERNATIONAL,
  19                                                    INC.
  20
  21
                                         Signature Attestation
  22
                 I, Jonathan Jackel, hereby attest that all other signatories listed, and on whose
  23
       behalf the filing is submitted, concur in the filing’s content and have authorized the
  24
       filing.
  25
        Dated: October 31, 2018                         ROUSSO & JACKEL
  26
                                                  By: __/s/ Jonathan Jackel_____
  27                                                  JONATHAN JACKEL
                                                      Attorneys for Plaintiff
  28                                                  MARCIANO TOPETE

        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)
       FPDOCS 34660128.1
